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                                                                                    U.S. BANKRUPTCY COURT
                                                                                  NORTHERN DISTRICT OF TEXAS


                                                                                     ENTERED
                                                                                  TAWANA C. MARSHALL, CLERK
                                                                                      THE DATE OF ENTRY IS
                                                                                     ON THE COURT'S DOCKET



The following constitutes the ruling of the court and has the force and effect therein described.



 Signed May 29, 2014
______________________________________________________________________


                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION



     IN RE:                                           §
                                                      §
     MTGOX CO., LTD. (a/k/a MTGOX KK),                §           CASE NO. 14-31229-SGJ-15
                                                      §
            Debtor.                                   §


                      ORDER REGARDING TELEPHONIC APPEARANCES

            Based on the volume of requests for telephonic appearances, and recognizing the need for

     counsel and various parties to participate by telephone, the court applies the following protocols

     for telephonic appearances:

            1.      Prior court approval for a telephonic appearance is not required unless counsel is

     presenting evidence, questioning witnesses, or intending to make extensive legal argument. If

     counsel is presenting evidence, questioning witnesses, or intending to make extensive legal

     argument, then counsel must obtain prior court approval for a telephonic appearance by email




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request to sgj_settings@txnb.uscourts.gov at least 24 hours prior to the hearing.

       2.      Prior court approval is also not required for telephonic appearances by non-

attorney parties who desire to participate in “listen-in only” mode.

       3.      The court uses Court Call as its conference call operator for all telephonic

appearances. There is a fee for this service. Counsel and non-attorney parties must set up each

telephonic appearance with Court Call the day before the hearing, if not sooner. The contact

number for Court Call is: (866) 582-6878. Court Call will prepare a master list of parties

appearing by telephone for the court and email the list to the court the afternoon before the

hearing. Counsel and parties should indicate whether they desire to be in “listen-in only” mode.

       4.      Participants must join the call no later than ten (10) minutes before the scheduled

hearing time. Parties will not be allowed to participate if joining in late.

       5.      To ensure the quality of the call, no speaker phones, cell phones, headsets or

public phones may be used. Counsel must be on the handset of the telephone during the

appearance. On every occasion before speaking, identification must be made for the record.

       6.      If a technological problem develops, the court will nevertheless proceed with the

hearing.

       IT IS SO ORDERED.

                                     ###END OF ORDER###




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